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  Reardon, Steve

  From:                                 Reardon, Steve
  Sent:                                 Wednesday, December 14, 2005 4:55 PM
  To:                                   Strizzi, Dave
  Cc:                                   Brantley, Eric
  Subject:                              RE: Call with Chris Mead re: DOJ drug diversion trends




     Anti-diversion
      status.doc
                        Dave,

  Eric put together the attached status report_                                          Let us know if this works.

  Steve



  -----Original Message-----
  From: Strizzi, Dave
  Sent: Tuesday, December 13, 2005 6:54 PM
  To: Reardon, Steve
  Subject: Fw: Call with Chris Mead re: DOJ drug diversion trends


  Steve
  Need some help.    Could yo u p r o vi de a h ig h level rev iew of th e r o ll o ut process a n d the
  cus tomer ac tions we've t aken r ecently? I figured we h ad some time ... . What do I k now?
  Than ks
  Dav e



  -----Origin a l Message -----
  From : Farrish, Mark <Mark . Parrish@cardina l.com>
  To: Strizzi , Dave < Dave. St r i zzi@cardinal. com>
  CC : Kennedy , Mi chae l <Michae l.Kennedy@cardin a l. com>
  Sen t: Tue Dec 13 1 8:30:39 2005
  Subject: FW: Ca ll with Chris Mead re: DOJ dr ug diversion t rends

  Dave ,

  Looks l i      ke th ere will be more scru t i ny on the i ssue of anti - d i vers i o n.    I know tha t we're
  pushing        for war d o n t h e imp l e mentati on of the policy , but I think it would be appropriat e
  to have        a we ll d ocumen t ed trail of our t r a i ning, cert i f i ca tion and inc ident processes .  I
  suspect        yo u alrea d y have much of this, bu t please get me a brief update.

  Ma r k

   ---- - Orig inal Message -----
  From:          Fong , Iva n
  Sent : Monday, December 12, 2005 9 : 0 4 PM
  To:     Parrish , Mark; Ke nnedy, Mi chael ; Brantley , Eric
  Cc :    Trull, Etha n E ; Goldsand, Corey ; Wa l sh , Dan
  Subj ec t:     Cal l with Chris Mead r e : DOJ drug diversion trend s
  Sensitivity:          Co nfidentia l

  PRIVILEGS D AND CON F IDE NTIAL


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                                    Cardinal Health
                             Anti-Diversion Program Status
                                               Decemher 14, 2005


               •   The Cardinal Health Anti-Diversion Compliance Policy has been finalized.

               •   The Cardinal Health Anti-Diversion training module has been drafted and is
                   currently being reviewed by Corey Goldsand and Jon Pickhardt, Wachtell, Lipton,
                   Rosen, & Katz.
                   o The training will be rolled out the first of the year.
                   o RVPs, Operations Management, Sales Teams, Credit Management,
                       Chargebacks, Contracts, and any Cardinal Health associate whose job relates
                       in any way to the sale of drugs at contract pricing will be trained.

               •   Several entities have been investigated or are currently under investigation for
                   suspected diversion. These entities are as follows:
                   o Coastal Pharmacy Services, N. Charleston, SC. Coastal Pham1acy Services
                      had a spike in purchases of Lifescan diabetic test-strip s in August 2005 and
                      has been purchasing large quantities every month since August. Sales of test-
                      strips to Coastal have been suspended pending a site visit with full disclosure
                      of purchasing and sales records of test-strips. If customer does not comply by
                      January Isi, 2006, sales will be discontinued pemrnnently.
                   o Compounding International, Bellmore, NY. Compounding International had
                      a spike in purchases of Duo Neb during October 2005. Dey Labs contacted
                      customer, but did not get an explanation for the spike in purchases. Dey
                      notified Cardinal Health that Compounding International was no longer able
                      to buy DuoNeb at contract pricing. The account has been closed.
                   o Master Compounding, Richmond Hill, NY. Master Compounding was
                      brought to the attention of the Compliance Coordinator during the
                      investigation of Compounding International. Master Compounding is
                      currently under investigation.
                   o Villa View, California. Villa View has not been a customer of Cardinal Health
                      since 2003. Villa View is cun-ently under investigation as a result of a
                      Cardinal Health emp loyee's questioning by two FBI agents.

               •   A monitoring system is under development that will identify monthly purchases
                   of drugs by a customer at contract pricing that exceed the preceding 12 month
                   average by a factor of 20 percent.

               •   A parallel policy is being drafted for internet pharmacies.

               •   Training will be conducted on customer approval and oversight procedures for
                   internet pharmacies along with the Anti-Diversion compliance training.




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               •   Several investigations of suspected internet phannacies have been conducted. The
                   results of these investigations arc as follows:
                   o Vin-Kash (closed door phamiacy), Vin-Kash Mailorder, and a Medicine
                       Shoppe, all in Florida and under common ownership. The Vin-Kash
                       mailordcr account was closed due to extremely large purchases of
                       Hydrocodone and suspected internet activity. The DEA later revoked the DEA
                       license for the account. The Medicine Shoppe and closed door pharmacy
                       accounts are being monitored for suspicious activity.
                   o ASAP, Pinellas Park, FL. Conducted an investigation as a result of contact
                       from DEA. Did not find suspicious purchase activity. The purchases on
                       account are being monitored for suspicious activity.
                   o Medipharm Rx, Tampa, FL. Conducted an investigation as a result of contact
                       from DEA. Account purchased in excess of 122,000 dosage units of
                       Hydrocodone per month during September and October. Purchases have been
                       temporaril y limited to 5,000 dosage units per month pending further
                       investigation. Medipharm was visited by the Compliance Coordinator on
                                      1
                       December l 3 h, 2005. Findings are being documented.
                   o North American Pharmaceuticals, Miami, FL. Conducted an investigation
                       as a result of contact from DEA. Account was closed.
                   o RKR Holdings, Clearwater, FL. Conducted an investigation as a result of
                       contact from DEA. RKR purchased 6,800 dosage units of Hydrocodone in
                       October. The purchases on account are being monitored for suspicious
                       activity.
                   o Sunshine RX, Tampa, FL. Account was closed in October.

               •   Cardinal Health Pharmaceutical Distribution Centers are reviewing monthly
                   ingredient limit excessive purchase repo11s and repo11ing to Compliance
                   Coordinator any customer who purchases in excess of:
                   o 3,000 dosage units of phentem1ine a month
                   o 5,000 dosage units of hydrocodone a month
                   o 5,000 dosage units of alprazolam a month




CONFIDENTIAL                                                                           CAH MDL2804 02102258
           Case: 1:17-md-02804-DAP Doc #: 2373-3 Filed: 08/14/19 7 of 40. PageID #: 387782

  Reardon, Steve

  From:                         Brantley, Eric
  Sent:                         Monday, December 19, 2005 3:24 PM
  To :                          Reardon, Steve
  Subject:                      internet policy


  Steve,

  Attached is the first draft of the internet prarmacy policy.




     INTERN ET
      policy.doc



  Eric Brantley
  Manager
  Quality & Regulato ry Affa irs
  Ca rdinal Health
  614-757-5624
  FAX 614-652-4628




CO NFIDENTIAL                                                                CAH_MDL2804_02102259
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                             INTERNET PHARMACIES

                     Customer Approval and Oversight Policy




CO NFIDENTIA L                                                             CAH MDL2804 02102260
        Case: 1:17-md-02804-DAP Doc #: 2373-3 Filed: 08/14/19 9 of 40. PageID #: 387784




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               IV.     Reporting

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           Introduction

           This internet phamrncy approval and oversight policy sets fo11h certain guidelines and
           procedures that Cardinal Health Inc. has adopted as part of its effort to identify and
           monitor the purchasing activity of internet pharmacies it sells prescription drug product.
           The policy is intended to ensure compliance with any applicable laws and regulations,
           contractual obligations, and prevailing industry standards concerning internet pharmacies.
           Cardinal Health requires that the guidelines and procedures described in the po licy be
           followed by each of its officers, employees, agents and consultants in pharmaceutical
           distribution sales, operations management, finance management, credit management, and
           contract positions (collectively, "associates").

           Any questions about the policy or its applicability to a particular situation should be
           directed to a member of the legal staff or the Anti-Diversion Compl iance Coordinator,
           Eric Brantley.


           Customer Approval

           In addition to regular new account application requirements, the fo llowing in form ation
           must be obtained:
                • Does the phamrncy operate a website where customers can order prescription
                   drugs via the internet?
                • Does the pharmacy supply prescription drugs to customers of other internet
                   pharmacy websites?
           If the answer is yes to one or both of the above, please consult with Compliance
           Coordinator prior to signing customer. The Compliance Coordinator will conduct further
           research of the potential customer.
           In addition, the salesperson must visit the customer's site prior to the customer being
           approved in order to evaluate whether the customer' s proli le is accurate. During visit,
           salesperson should document any evidence of a mail-order operation at the phannacy.


           Oversight

           After an internet pharmacy has been approved, Cardinal Health will monitor the customer
           for signs of suspected diversion. Although no single factor will conclusively establish
           diversion, some of the significant factors include:
               • Does the phannacy accept walk-in customers?
               • What percentage of the pharmacy's drug purchases are controlled substances?
               • Does the phannacy purchase a wide range of products?
               • Is the pharmacy ordering more than 3,000 dosage units of phentem1ine a month?
               • Is the pharmacy ordering more than 5,000 dosage units of hydrocodone a month?
               • ls the pharmacy ordering more than 5,000 dosage units of alprazolam a month?
               • Does the phamrncy pick up orders rather than having them delivered?




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           Reporting

           Suspected diversion or mail-order activity identified during the screening of potential
           customers or monitoring of an ex isting customer must be repo11ed to the Compliance
           Coordinator. Although no single factor will conclusively establish diversion, some of the
           significant factors include:
               • Inquiries from Governmental Regulators: Occasionally, Cardinal Health
                   receives inquiries from government regulators concerning particular customers.
                   Those inquiries may sometime reflect suspected diversion on the part of th e
                   regulator; particularl y controlled substances.
               • Excessive Purch ases: Ingredient Limit Reports are to be reviewed monthly by
                   each division. Any excessive purchases of the above mentioned ingredients over
                   the above mention ed allowable dosage units must be repo11ed to the Compliance
                   Coordinator.
               • Significant Changes in Purchasing Patterns: A strikin g and unexpl ained
                   increase in the purchases of certain products may warrant further inquiry.
               • Affiliations with Internet Pharmacies or Wholesalers: Affil iation with an
                   internet pharmacy or wholesaler may suggest the possibility of drugs being
                   d iverted through the affi liated operation.


           Investigations

           The Compli ance Coordinator may receive reports regarding suspected diversion from a
           number of different sources includ ing his or her own monitoring efforts. The Comp liance
           Coordinator will conduct an initial assessment of each instance of suspected diversion,
           and if the initial assessment suggests that diversion may have occurred, the Compliance
           Coordinator will undertake a further review and investigati on. Depending on the
           circumstances of each case, the investigation may include any or all of the following
           components:
               I. Co llecting and reviewing the history of purchases by the customer;
               2. Collecting and review ing the history of excessive purchases o f hydrocodone,
                   alprazolam, and phcntermine by the customer;
               3. Confinning phamrncy and/or wholesale licensure for the customer and its
                   affi li ates;
               4. Coll ecting and reviewing customer files maintained at the distribution center
                   servici ng the customer;
               5. Interviewing the sales director, manager, and/or consultant responsible for the
                   customer account;
               6. Where appropriate, requesting an explanation from the customer and/or
                   conducting a site visit; and
               7. Checking the pharmacy website for appropriate infomrntion.

           At the conclusion of the investigation, the Compli ance Coordinator will issue a report to
           Cardinal Health's Vice President of Quality and Regulatory Affairs, with a judgment as
           to whether diversion has occurred and the recommended corrective action.




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   Reardon, Steve

   From :                          Brantley, Eric
   Sent:                           Tuesday, December 20, 2005 1:34 PM
   To :                            Reardon , Steve
   Subject:                        FW: internet presentation


   For your review.

    -----Original Message-----
   From:                Miller, Kristeen
   Sent:                Wednesday, December 14, 2005 10:50 AM
   To:                  Brantley, Eric
   Subject:             internet presentation




  nternet Pharm - Eric
          B.ppt



   Kristeen Nicholson-Miller
   Quality & Regulatory Affairs
   Cardinal Health
   614.757.7109 direct#
   614.652.4396 fax#
   kristeen .miller@cardinal. com




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Internet Pharmacy




Eric Brantley
Manager, Quality & Regulatory Affairs
Dec.2005

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   Internet Pharmacies
• Related to an existing pharmacy
    - Walk-in patients with prescriptions
    - Some legitimate, some not


• Unrelated to brick and mortar pharmacy
    - No local patients or doctors
    - No walk-in business



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• Prescriptions can only be issued by a doctor acting in the
  usual course of professional practice


• Prescription not issued in the usual course of professional
  practice is not valid


• An Internet questionnaire alone is not sufficient to legally
  prescribe controlled substances




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  Issues to Consider

• Frequency of orders
• Size of orders
• Range of products purchased
• Payment method
• Pharmacy location
• /o controlled vs. /o non-controlled
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• Customer pick-up at distributor


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 Reporting Requirements                                                                      ....J
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• Suspicious purchases


• Effective controls against diversion




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• Monitoring ingredient limit report


• Reporting to Compliance Coordinator




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  Reardon, Steve

  From:                   Michael.R.Mapes@usdoj.gov
  Sent:                   Thursday, December 22, 2005 1:42 PM
  To:                     Reardon, Steve
  Subject:                Re: Internet Pharmacy Question


  Steve,

  It is getting close,      I will discuss with legal and get back with you.

  Thanks,

  Mike

  -----Original Message-----
  Frorn: Steve.Reardon@cardinal.com <Steve.Reardon@cardinal.com>
  To: Mapes, Mi c hael R. <Michael.R.Mapes@USDOJ.GOV>
  Sent: Thu Dec 22 13:26:20 2005
  Subject: Internet Pharmacy Question

  Mike,

  As we continue to address internet pharmacy issues we come up with different scenarios
  regarding the doctor patient relationship.   Please review and advise as to whether or not
  the internet pharmacy scenario described below meets the requirements for a va l id doctor
  patient relationship.

  *     Pa ti e nt goes onli ne and fi l l s o ut a questionnaire.
  *     Quest i o nna i re is reviewed by a doctor or a physician ass istant cont r ac ted by t he
  pharmacy .
  *     The doc t or or p hys i cian assistan t ca ll s the pa tient for consultation.
        Patient se nds to t he do ctor a copy o f thei r med i cal r ecor ds wi t h docume nt atio n of
  physical e xam and a copy of p hoto i dent ifi cat i o n.
  ~     Prescr iption is written and sen t to pharmacy.
  •     Prescript ion i s filled and mailed to patien t.

  Tha n k yo u for your t ime a nd assista nce in thi s matter.
  Steve


  Stephen J. Reardon
  Vic e Pres ident
  Qual ity & Regu l ato r y Affairs
  Cardina l Hea lth
  700 0 Cardina l Place
  Dublin, Ohio 43017
  Tel         61 4-7 5 7-71 01
  Fa x       61 4-6 5 2-4 264
  Cell        614- 66 8-2044
  s teve.reardon@c a rdinal.com




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  Reardon, Steve

  From:                    Michael.R.Mapes@usdoj.gov
  Sent:                    Tuesday, January 03, 2006 7:56 AM
  To:                      Reardon, Steve
  Cc:                      Kyle.J.Wright@usdoj.gov
  Subject:                 RE: Internet Pharmacy Question


  Steve,

  I discussed with legal counsel.  The determination is that the scenario described does not
  meet the standard for legitimate doctor patient relationship.  There is not face to face
  contact and examination between the patient and the prescribing doctor.

  Let me know if you have any further qu e stions,

  Mike

  -----Original Message-----
  From: Steve.Reardon@cardinal.com [mailto:Steve.Reardon@cardinal.com)
  Sent: Thursday, December 22, 2005 2:03 PM
  To: Mapes, Michael R.
  Subject: RE: Internet Pharmacy Question


  Mike,

  Thanks and have a great Holiday!

  Steve

  ----- Or i g ina l Message -----
  Frorn: Michae l. R. Mapes@usdOJ . gov [mailt o: Mi chae l. R.Mapes@usdo j. gov]
  Sen t: Thursday, De cember 22, 2005 1:4 2 PM
  To : Reardon, Steve
  S ubj ect: Re : Inter net Pharmacy Quest i on


  Steve ,

  It is getting close ,     I   will d i scuss with l egal     a nd get bac k with you.

  Th anks,

  Mi ke

  ---- -Ori g i na l Message -----
  From: S t eve . Rea r don@card i nal.com <S t eve.Reardon@cardina l. com>
  To: Mapes, Michael R. <Michae l. R.Mapes@USDO J. GOV>
  Sent : Thu Dec 22 1 3 : 26 : 20 2005
  Subj ec t: Int erne t Pharmacy Quest i on

  Mi ke ,

  As we cont inue to address internet pha rm ac y i ss ues we come up with different scenarios
  r egarding the doctor patie n t relationsh i p.  Pl ease revie w and advise as to whe th e r or not
  th e int er n et pharmacy scenario described below meets th e requirements for a val id doctor
  pa ti en t r elat ionshi p.

  *     Patient goes o nline and fills out a q uest ion na ire.
        Quest ionn a i re i s reviewed by a do ct or or a physic i an assistan t con t racted by th e
  pharmacy.
        The docto r or physicia n ass i stant cal l s the patien t for con su ltation.
        Pa ti ent s e nds t o th e do cto r a cop y of t h ei r med i ca l records with doc umentatio n of




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  physical exam and a copy of photo identification.
  *     Prescription is written and sent to pharmacy.
        Prescription is filled and mailed to patient.

  Thank you for your time and assistance in this matter.
  Steve


  Stephen J. Reardon
  Vice President
  Quality & Regulatory Affairs
  Cardinal Health
  7000 Cardinal Place
  Dublin, Ohio 43017
  Tel        614-757-7101
  Fax       614-652-4264
  Cell       614-668-2044
  steve.reardon@cardinal.com




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                                ANTI-DIVERSION INVESTIGATION REPORT
                                                                             December 6th, 2005
             Customer
             Yin-Kash Inc ., Medicom Rx                   Yin-Kash Mail-order
             5474 Williams Road, Suite IA & JB            5474 Williams Rd. Suite 19 & 16
             Tampa, FL 33610                              Tampa, FL 33610

             Customer Profile
                 •   License(s):            Florida Pharm acy# PH2I018 exp. 02/28/2007;
                                            DEA# BY9045750, exp. 05/31 /2007
                                            Florida Pham1acy # PH2 I 0 I 7 exp. 02/28/2007
                                            DEA# BY9062097, exp. 05/31 /2007
                 •   Principal(s):          Vinesh Darji, owner
                 •   Type of ownership: Corporation
                 •   Location(s):           Single location, Tampa, FL
                 •   Affiliates:          . None known
                 •   Account History:       Cardinal customer for 15 mos. Mai l-order since May 2005
                 •   Servicing Division : Lakeland, FL (I I)
                 •   Sales Contact:         Lenny Moro , Sales Representative
                 •   Credit Limit:          Unknown
                 •   Type of business:      Closed-door phamrncy; Mail order (internet pharmacy)
                 •   Customer base:         Nursing Home & Assisted Living Facilities
                 •   GPO contracts:         MHA Buying Group

             Issue
                                                                                                  1
             Steve Reardon was contacted by the DEA regarding Yin-Kash on November 30 h, 2005.
             A look at six months of purchase history and excessive purchase reports reveal the
             following :

                                               Vin-Kash Mail-order

             H ydrocodone          DEA Limit is 5,000 dosage units

             July 2005             12,000 dosage units
             August 2005           9,400 dosage units
             September 2005        11,400 dosage units
             October 2005          122,000 dosage units

             Investigative Steps Completed
                                                              5
                 1. Li censure was veri tied on Decemb er I       \   2005




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               2. G months sales history pulled on December 2"d, 2005 and reviewed.
               3. Rob Betchley, Director of Operations at the Lakeland division was contacted on
                                 1
                  November 30 \ 2005 and asked to provide infomiation about the account. Copies
                  of licenses and excessive purchase reports were received on December 15\ 2005
                  from Eileen Rizzo.
               4. Lenny Moro, the Sales Representative responsible for the account was contacted
                  on November 30th' 2005 and asked to provide information about the account.
               5. Internet web searches were conducted of Vin-Kash and its owner on November
                  30l 11 , 2005.

           Findings
               •   A review of licensure confirmed that both Vin-Kash and Vin-Kash Mail-order are
                   licensed as pharmacies in the state o f Florida as well as with the DEA. Those
                   licenses arc current. Copies of State and DEA licenses are on file.
               •   The review of the last 6 months of Vin-Kash sales history and excessive purchase
                   reports revealed excessive purchases of Hydrocodone starting in July 2005,
                   especially in October 2005 (as shown in the above data). No significant spikes in
                   the purchases of other products were noted.
               •   Lenny Moro, Sales Representative for the account, was interviewed on November
                   30t11, 2005. Mr. Moro has been responsible for both Vin-Kash accounts from the
                   beginning. Based on Mr. Moro's interview, the following findings are made:
                         1. Mr. Darji infonned Mr. Moro that he was selling via the internet through
                            his mail-order account.
                        2. Mr. Moro visited the Vin-Kash facility on October 21st, 2005. The facility
                            houses both the closed door phannacy and the mail-order business in
                            adjoining suites.
                        3. Mr. Moro has not observed any unusual or suspect activi ty by the Vin-
                            Kash account.
               •   Lenny Moro visited the facility again on December 5th. 2005 and was to ld that the
                   DEA had just shut down the mail-order business.

           Recommendation
           It has been detem1ined that Vin-Kash mail-order is diverting Hydrocodone products
           purchased from Cardinal Health. This is based on the following fac tors, among others:
                • Mr. Darji admitted to selling via the internet;
                • Purchases of Hydrocodone products have exceeded the limits set by the DEA
                    since July 2005 and purchases for October 2005 were extremely high.
           Ir is the recommendation of the Compliance Coordinator that Cardinal Health notify
           Coastal Pham1acy that it intends to discontinue all sales to Vin-Kash mail-order, and the
           Vin-Kash closed door phannacy account will be watched closely for possible diversion.




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  Reardon, Steve

  From:                      Brantley, Eric
  Sent:                      Tuesday, December 06, 2005 2:03 PM
  To:                        Reardon, Steve
  Subject:                   Vin-Kash report




     Vin-Kash.doc




  Eric Brantley
  Manager
  Quality & Regulatory Affairs
  Cardinal Health
  614-757-5624
  FAX 614-652-4628




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       Internet Pharmacy
       Approval and Oversight



       Eric Brantley
       Anti-Diversion Compliance Coordinator
       April 2006
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• August 22nd, 2005 meeting was held at DEA
  Headquarters to address -internet
  pharmacies.


• Cardinal Health adopted certain guidelines
  and procedures as part of its effort to identify
  and monitor the purchasing activity of internet
  pharmacies it sells prescription drug product.


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   Introduction
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 • These guidelines are intended to ensure compliance
   with any applicable laws and regulations, contractual
   obligations, and prevailing industry standards
   concerning internet pharmacies.

 • Cardinal Health requires that the guidelines and
   procedures be followed by each of its officers,
   employees, agents and consultants in
   pharmaceutical distribution sales, operations
   management, finance management, credit
   management and contract positions (collectively,
   "associates")

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 DEA Internet Policy                                                                            ....J
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• Usual course of professional practice
  - Patient with a medical complaint
  - History
  - Physical examination
  - Nexus between complaint/history/exam
    and drug prescribed




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  DEA Internet Policy
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• Prescriptions can only be issued by a doctor acting in the
  usual course of professional practice


• Prescription not issued in the usual course of professional
  practice is not valid


• Drugs dispensed pursuant to invalid prescriptions are not
  for legitimate medical purpose, the drugs are diverted




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 DEA Internet Policy                                  (cont'd)
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• 21 CFR 1301.74
• Requires that registrants design and operate system
  to identify suspicious orders.


• Report suspicious orders to DEA when discovered


• Reporting a suspicious order to DEA does not relieve
  the distributor of the responsibility to maintain
  effective controls against diversion


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 DEA Internet Policy                                  (cont'd)

• The DEA registration of the distributor could
  be revoked under public interest grounds


• Any Distributor who is selling controlled
  substances that are being dispensed outside
  the course of professional practice must stop
  immediately




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• In addition to regular new account application
  requirements, the following information must
  be obtained:
  - Does the pharmacy operate a website where
     customers can order prescription drugs via the
     internet?
  - Does the pharmacy supply prescription drugs to
     customers of other internet pharmacy websites?
  If the answer is yes to one or both of the above,
     please consult with Compliance Coordinator prior
     to signing customer.


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• The Sales Consultant must visit the
  customer's site prior to the customer being
  approved in order to evaluate whether the
  customer's profile is accurate.


• During visit, Sales Consultant should
  document and report any evidence of a mail-
  order operation at the pharmacy.



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    Oversight
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 • After an internet pharmacy has been approved,
   Cardinal Health will monitor the customer for signs of
   suspected diversion. Although no single factor will
   conclusively establish diversion, some of the
   significant factors include:
      - Is the pharmacy ordering more than                        3,000 dosage units of
        phentermine a month?
      - Is the pharmacy ordering more than                        5,000 dosage units of
        hydrocodone a month?
      - Is the pharmacy ordering more than                        5,000 dosage units of
        alprazolam a month?
      - What percentage of the pharmacy's                         drug purchases are
        controlled substances?



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  Reporting
• Suspected diversion identified during the
  screening of potential customers or
  monitoring of existing customers must be
  reported to the Compliance Coordinator.
   - Inquiries from Governmental Regulators
   - Excessive purchases
   - Significant changes in purchasing patterns
   - Affiliations with internet pharmacies or wholesalers



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 Investigations
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• The Compliance Coordinator will conduct an
  initial assessment of each instance of
  suspected diversion. If the initial assessment
  suggests that diversion may have occurred,
  the Compliance Coordinator will undertake a
  further review and investigation.




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• The investigation may include any or all of the
  following components:
  - Collecting and reviewing purchase history of customer
  - Confirming licensure for the customer and its affiliates
  - Collecting and reviewing customer files maintained at the
    distribution center servicing customer
   - Interviewing the Sales Director, Manager, or Consultant
     responsible for the account
   - Where appropriate, requesting an explanation from customer
     and/or conduct!ng a site visit




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• Customer appeared on monthly ILR as purchasing
  large amounts of hydrocodone
• Company initiated investigation which revealed:
  - Spikes and significant purchases of hydrocodone during
    previous 6 months
  - Customer serviced long term care/assisted living facilities
    and also serviced an internet pharmacy - 40°/o of sales
    through internet
  - Drugs were purchased on GPO contract at discounted
    pricing and then sold through internet pharmacy
  - Facility was not licensed in states it shipped into
   - No legitimate prescription for internet sales


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             Case: 1:17-md-02804-DAP Doc #: 2373-3 Filed: 08/14/19 40 of 40. PageID #: 387815



        Reardon, Steve

         From:       Brantley, Eric
        Sent:        Monday, April 30, 2007 3:04 PM
        To:          G-NSA-Retail VP's; G-NSA-Retail Directors; G-NSA-Retail Sales Managers; G-NSA-Retail
                     Business Development Managers; G-NSA-Generic Market Managers: G-NSA-Market Development
                     Managers; G-NSA-Retail Sales Support
         Cc:         Reardon, Steve
         Subject: internet pharmacies

      All,

      Please see the attachments regarding internet pharmacies and the suspension of AmeriSource Bergen's DEA
      Registration at their Orlando. Florida facility. A link has been provided to the Cardinal Health Internet Pharmacy
      Customer Approval and Oversight Policy. Please contact me if you have any questions.

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      Thank you,

      Eric Brantley
      Director, Quality & Regulatory Affairs
      Cardinal Health
      614-757·5624
      FAX 614 ·G52·4 G28




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